                                             Entered on Docket
                                             December 03, 2020
                                             EDWARD J. EMMONS, CLERK
                                             U.S. BANKRUPTCY COURT
                                             NORTHERN DISTRICT OF CALIFORNIA


                                             Signed and Filed: December 2, 2020
1

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4                                         __________________________________________
                                          HANNAH L. BLUMENSTIEL
5                             UNITED   STATES    BANKRUPTCY
                                          U.S. Bankruptcy Judge COURT

6                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
7    In re:                                      ) Case No. 20-30242 HLB
                                                 )
8    ANTHONY SCOTT LEVANDOWSKI,                  ) Chapter 11
                                                 )
9                        Debtor.                 )
                                                 )
10
           ORDER DENYING RAMSEY & EHRLICH LLP’S MOTION FOR APPROVAL OF
11
                             STIPULATION WITH DEBTOR
12
             This case comes before the court on Ramsey & Ehrlich LLP’s
13
     (“R&E”) motion,1 which requests approval of a stipulation2
14

15   between it and Mr. Levandowski related to compensation to be paid

16   to R&E as his counsel in a federal criminal trade secrets case.3
17           The Stipulation, dated July 22, 2020, represents that Mr.
18
     Levandowski employed R&E pursuant to a November 6, 2019
19
     engagement agreement,4 which provided for a flat fee/advanced
20

21
     payment retainer of $5.0 million for services beginning on

22   October 1, 2019 (the “Flat Fee”).

23

24   1   Dkt. 161 (the “Motion”).
25   2   Dkt. 161, Ex. A (the “Stipulation”).
26   3 See United States v. Levandowski, Case No. 3:19-cr-00377 (N.D. Cal. 2019)
     (the “Criminal Case”).
27
     4   Dkt. 162, Ex. A (the “Engagement Agreement”).
28




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             The Stipulation also states that R&E retains, in its client
1

2    trust account, $1,529,968.82 in fees (the “Funds”) paid pre-

3    petition, by or on behalf of Mr. Levandowski for representation
4    in the Criminal Case, and seeks approval of the transfer of the
5
     Funds to its operating account.          The Stipulation summarizes the
6
     rest of the agreement between Mr. Levandowski and R&E as follows:
7
       (1)        R&E’s obligations as counsel in the Criminal Case were
8

9    fully performed upon Mr. Levandowski’s sentencing on August 4,

10   2020;
11
       (2)        R&E had fully earned the entirety of the Flat Fee at
12
     that time;
13
       (3)        R&E’s interest in the Flat Fee, which includes the
14

15   Funds in its client trust account, was fully earned, fixed and

16   undisputed at that time;
17     (4)        The Funds are not property of the bankruptcy estate and
18
     are not subject to the automatic stay; and
19
       (5)        To the extent that the automatic stay applies, the
20
     court should grant relief from the stay pursuant to section
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     362(d)5 to allow the transfer of the Funds as required by CRPC
1

2    Rule 1.15(c).6

3            Uber Technologies, Inc. (“Uber”) and Google LLC (“Google”)
4    filed objections7 to the Motion on August 6, 2020, seeking a
5
     review of the compensation claimed by R&E for reasonableness,
6
     given that R&E has not submitted detailed time or expense records
7
     to the court.       The Oppositions also seek additional information,
8

9    which they contend will facilitate the court’s effort to

10   determine the reasonableness of the fees.
11
             In a reply,8 filed on August 11, 2020, R&E asserts that its
12
     compensation, as a flat fee/advanced payment retainer, is not
13
     property of the bankruptcy estate and that its Motion only
14

15   requests permission to transfer the Funds from the client trust

16   account to its operating account in compliance with CRPC Rule
17   1.15.
18

19

20

21   5 Unless otherwise indicated, all statutory citations shall refer to Title 11
22   of the United States Code, aka the “Bankruptcy Code”; all citations to a
     “Bankruptcy Rule” shall refer to one of the Federal Rules of Bankruptcy
23   Procedure; all citations to a “B.L.R.” shall refer to one of the Bankruptcy
     Local Rules for the United States Bankruptcy Court for the Northern District
24   of California; and all citations to a “Civil Rule” shall refer to the Federal
     Rules of Civil Procedure.
25   6 All citations to “CRPC” shall refer to one of the California Rules of
     Professional Conduct.
26
     7 Dkt. 188 (“Google Opposition”) and Dkt. 189 (“Uber Opposition”), together
27
     (the “Oppositions”).
28   8   Dkt. 195 (the “Reply”).



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              The court convened a hearing on the Motion on August 13,
1

2    2020, at which the parties presented arguments, and the court

3    requested additional briefing.9            After the timely submission of
4    supplemental briefs,10 the court took the matter under
5
     advisement.
6
              Based upon the court’s analysis of the foregoing pleadings
7
     and consideration of the parties’ arguments, R&E’s Motion is
8

9    hereby DENIED WITHOUT PREJUDICE.

10            A. JURISDICTION
11
              This court has jurisdiction over this contested matter that
12
     this court may hear and determine, pursuant to 28 U.S.C.
13
     §§ 157(a) and (b) and 1334(b) and General Order 24 of the United
14

15   States District Court for the Northern District of California.

16   This contested matter constitutes a core proceeding under 28
17   U.S.C. § 157(b)(2)(A) and (G).            The parties also have consented
18
     to the entry of an order resolving this contested matter, which
19
     provides further support for the court’s subject matter
20
     jurisdiction.11
21

22

23
     9    See Dkt. 200 (the “Scheduling Order”).
24
     10These supplemental briefs include: (1) R&E’s supplemental brief in support
25
     of the Motion (Dkt. 234; the “Motion Supplement”); (2) Uber’s supplemental
     opposition (Dkt. 266); (3) Google’s supplemental opposition (Dkt. 267); and
26
     (4) R&E’s supplemental reply (Dkt. 275).
27   11Wellness Intern. Network Ltd. v. Sharif, 135 S. Ct. 1932, 1949 (2015)
     (holding that “Article III permits bankruptcy courts to decide [statutorily
28
     core but constitutionally non-core] claims submitted to them by consent”).



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             B. BACKGROUND
1

2            Mr. Levandowski first retained R&E on an hourly-fee basis in

3    March 2017 after he was accused of stealing trade secrets from
4    Google.      Specifically, R&E’s engagement pertained to Mr.
5
     Levandowski’s actions involving the conveyance of information
6
     central to Google’s self-driving car technology and his role as a
7
     witness in a lawsuit brought by Waymo LLC (“Waymo”), Google’s
8

9    self-driving car subsidiary, against Uber.12

10           In May 2017, after a criminal referral by the presiding
11
     judge in the Waymo Litigation, the U.S. Attorney’s Office for the
12
     Northern District of California opened a criminal investigation
13
     into Mr. Levandowski’s conduct.13             R&E continued to represent Mr.
14

15   Levandowski during the U.S. Attorney’s criminal investigation on

16   an hourly-fee basis,14 which proceeded while he was embroiled in
17   both the Waymo Litigation and in an arbitration commenced against
18
     him by Google (the “Arbitration”).15
19

20

21

22

23

24   12See Waymo LLC v. Uber Techs., Inc., Case No. C 17-00939 WHA, 2017 WL
25   2694191 (N.D. Cal. June 21, 2017) (the “Waymo Litigation”).
     13   See Dkt. 267, p. 6.
26
     14   See Dkt. 103-1, p. 2.
27
     15   See Dkt. 64, p. 2.
28




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             In March 2019, the Arbitration panel entered an interim
1

2    award against Mr. Levandowski in the amount of $127.0 million.16

3    In July 2019, Mr. Levandowski retained bankruptcy counsel.17
4            On August 15, 2019, a grand jury indicted Mr. Levandowski on
5
     thirty-three felony counts of trade secret theft, stemming from
6
     his misappropriation of Google’s self-driving vehicle
7
     technology.18      R&E appeared as special counsel for Mr.
8

9    Levandowski in the Criminal Case on August 27, 2019, and on

10   September 2, 2019, R&E made its formal appearance in that case as
11
     Mr. Levandowski’s counsel of record.
12
             It was not until November 6, 2019, nearly three years after
13
     Mr. Levandowski initially retained R&E on an hourly-fee basis for
14

15   its services in connection with his theft of trade secrets, that

16   the fee arrangement changed.19             The new Engagement Agreement
17   offered two alternatives for payment of R&E’s legal fees.20
18
             Option A was explained in a provision entitled “Hourly Fee
19
     Agreement/Third Party Fee Agreement and Security Deposit.”21
20

21

22
     16   See Dkt. 19-1, p. 141.
23
     17   See Dkt. 22, ¶ 6.
24
     18   See Dkt. 64, p. 4.
25
     19   See Dkt. 267, p. 6; Dkt. 162, Ex. A.
26
     20   See Dkt. 165, ¶ 1.
27
     21   See Dkt. 165, Ex. A.
28




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     Under Option A, R&E would bill for its services by the hour, at
1

2    rates that could be changed after notice and which would be

3    charged against security deposits placed with R&E.                   Option A
4    required an initial $1.0 million advance payment to be placed in
5
     R&E’s client trust account before the performance of additional
6
     legal services, and further required that a third party enter
7
     into an agreement to provide further security deposits of $2.0
8

9    million by January 1, 2020, and $2.0 million on February 1, 2020,

10   for a total of $4.0 million, to be placed in R&E’s trust account
11
     and used only to pay delinquent invoices for legal services.
12
                Option B was set forth in a provision entitled “Prepaid Flat
13
     Fee/Advance Payment for Costs and Expenses.”22                 It provided that
14

15   the legal fee for services to be rendered from October 1, 2019 to

16   the end of the first trial (or other alternative resolution)
17   would be $5.0 million (the Flat Fee).               It provided that the Flat
18
     Fee “is fixed and does not depend on the amount of work performed
19
     or the results obtained.           Client acknowledges that this fee is
20
     negotiated and is not set by law.”23
21

22              Under the terms of Option B, Mr. Levandowski would pay the

23   Flat Fee in four installments:             $1.0 million on November 6, 2019
24
     (the date of the Engagement Agreement); another $1.0 million on
25

26
     22   Id.
27
     23   Id.
28




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     January 7, 2020; a third $1.0 million on January 31, 2020; and
1

2    $2.0 million on February 15, 2020.24              Option B makes no mention

3    of whether the Flat Fee would be placed in R&E’s trust account or
4    its operating account, specifying only that an immediate deposit
5
     of $250,000 would be placed in a trust account to cover costs and
6
     expenses as they were incurred.
7
             Mr. Levandowski selected Option B, a choice he explained as
8

9    follows:

10            I was advised by Mr. Ramsey [R&E attorney] that
              because of the possibility that I might have to
11
              commence a bankruptcy case, R&E would not agree
12            to represent me on an hourly basis without a
              third-party payment or third-party guarantee of
13            payment.25
14

15           On March 4, 2020 (the “Petition Date”), Mr. Levandowski

16   voluntarily filed a Chapter 11 bankruptcy petition in this
17   court.26       R&E represented that, sometime before the Petition
18
     Date, Mr. Levandowski made several installment payments toward
19
     the $5.0 million Flat Fee but had not yet paid the entire
20
     amount.27       Specifically, Mr. Levandowski had paid approximately
21

22   31% of the Flat Fee, or $1,537,018.82.28               According to R&E, it

23

24   24   See id.
25   25   See Dkt. 265, ¶ 4.
26   26   See Dkt. 1.
27   27   See Dkt. 161, Ex. A, ¶ B.
28   28   See id., ¶ C.



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     has since withdrawn only $7,050 to pay a third-party expense and
1

2    holds the remainder of the Funds in its client trust account.29

3            On August 21, 2020, counsel for Google sent a letter to R&E
4    requesting a breakdown of the $1,537,018.82 and asking for the
5
     dates and amounts of each payment R&E received related to the
6
     November 6, 2019 Engagement Agreement.30               On August 31, 2020,
7
     counsel for R&E replied with a report (the “Client Funds Report”)
8

9    detailing all of the deposits into and disbursements from Mr.

10   Levandowski’s client trust account since the beginning of its
11
     retention in March 2017.31
12
             As Google notes in its Supplemental Opposition, the Client
13
     Funds Report confirms that, pursuant to the Engagement Agreement,
14

15   about $1.5 million was paid by or on behalf of Mr. Levandowski

16   prior to the Petition Date, and those monies now reside in an R&E
17   client trust account.32          The first and largest payment in the
18
     amount of $1.0 million dollars was apparently made on October 18,
19
     2019 on behalf of Mr. Levandowski by “Rad Urban,” a company with
20
     which Mr. Levandowski had a financial relationship prior to the
21

22

23

24
     29   See id., p. 7.
25
     30   See Dkt. 267-1, Ex. A.
26
     31   See Dkt. 267-1, Ex. B.
27
     32   See Dkt. 267, p. 8.
28




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     execution of the Engagement Agreement.33               Mr. Levandowski did not
 1

 2   personally make any payments toward the Flat Fee until the day

 3   before the Petition Date, or March 3, 2020, when he paid R&E
 4   $950,000.34       He then paid R&E another $200,000 on the Petition
 5
     Date.35       It does not appear that Mr. Levandowski or any other
 6
     party paid the deposit of $250,000 for costs and expenses.
 7
     Neither Mr. Levandowski nor any other entity has made any
 8

 9   additional payments toward the Flat Fee.

10              On March 19, 2020, Mr. Levandowski entered a guilty plea in
11
     the Criminal Case, and he was sentenced on August 4, 2020.                     As of
12
     that date, R&E claims to have fully completed its representation
13
     of Mr. Levandowski under the terms of the Engagement Agreement,
14

15   thereby having fully earned its Flat Fee.

16              On April 8, 2020, Mr. Levandowski filed a verified
17   application36 to employ R&E as special criminal counsel pursuant
18
     to section 327(e) and Bankruptcy Rule 2014(a).                 In the
19
     Application, Mr. Levandowski represented that the Engagement
20
     Agreement set forth the services that R&E anticipated performing,
21

22   which included advising him with respect to his plea bargain and

23

24
     33   Id.; see also Dkt. 267-1, Ex. B.
25
     34   Id.
26
     35   Id.
27
     36   Dkt. 36 (the “Application”).
28




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     sentencing and his obligation to make criminal restitution after
 1

 2   the Petition Date.37

 3           The Application, which Mr. Levandowski submitted under
 4   penalty of perjury, states that R&E’s employment would benefit
 5
     the estate because the firm would:             (1) advocate and obtain from
 6
     the court in the Criminal Case approval of the “successful
 7
     negotiation” with the Department of Justice of a restitution
 8

 9   payment due at his sentencing; (2) assist in lowering the amount

10   of his restitution payment, thereby providing more funds for
11
     distribution to his creditors; and (3) negotiate to avoid or
12
     reduce the prison time in any sentence that might be imposed,
13
     thus enabling Mr. Levandowski to work and earn funds to increase
14

15   the value of his estate.38

16           In support of the Application, Mr. Ismail Ramsey submitted a
17   declaration, pursuant to section 327(e)and Bankruptcy Rules
18
     2014(a)and 2016.39       Among other things, Mr. Ramsey attests that
19
     R&E holds a total of $2,307.248.04 in its client trust account as
20
     of the Petition Date, which constitutes the Funds, plus
21

22   $756,499.22 for prepayment of restitution in the Criminal Case.40

23

24
     37   Id., ¶ 11.
25
     38   Id., ¶ 14.
26
     39   Dkt. 37 (“Mr. Ramsey’s Declaration”).
27
     40   Id., ¶ 16.
28




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     He further states that R&E would not bill the estate on an hourly
 1

 2   basis for its services but would rely upon the Funds in its

 3   client trust account for future payment.41
 4              Mr. Ramsey’s Declaration also indicates, however, that R&E
 5
     might apply to the court for the reimbursement of actual,
 6
     necessary expenses incurred post-petition, in accordance with
 7
     section 330, and that R&E intends to file a proof of claim for
 8

 9   the remaining balance of its Flat Fee, or $3,449,251.18.42

10              Upon objection by the United States Trustee and others, the
11
     Application was withdrawn.           Mr. Levandowski then retained R&E in
12
     his personal capacity, and despite his formal entry of a guilty
13
     plea on August 4, 2020, R&E apparently expects to continue to
14

15   represent him at least through his February 2021 status hearing

16   regarding his self-surrender date.43
17              In the Motion, R&E asks the court for relief under sections
18
     362(d)(1) and (2), Bankruptcy Rule 4001(d), and B.L.R. 4001-1 and
19
     9014-1(b)(3).
20

21

22

23

24

25
     41   Id., ¶ 17.
26
     42   Id.
27
     43   See Dkt. 267, p. 9; see also Dkt. 267-1, Ex. B.
28




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             C. ANALYSIS
 1

 2           1. The Stipulation and Relief Requested.

 3           In its Motion, R&E asks the court to approve the Stipulation
 4   and to enter an order that “authorizes the transfer of the
 5
     [Funds] from the firm’s client trust account to the firm’s
 6
     operating account at the conclusion of the criminal matter.”44
 7
     By its express terms, however, the Stipulation provides for much
 8

 9   more, including that:

10        (1)      R&E has fully performed its representation obligations
11
     upon the sentencing of Mr. Levandowski;
12
          (2)      R&E will have fully earned the entirety of the Flat Fee
13
     as of the sentencing of Mr. Levandowski;
14

15        (3)      R&E’s interest in the Flat Fee and the balance of the

16   Funds will become fixed, undisputed and fully earned as of the
17   sentencing of Mr. Levandowski;
18
          (4)      The Funds are not property of the bankruptcy estate and
19
     are not subject to the automatic stay; and
20
          (5)      To the extent the automatic stay applies, relief from
21

22   stay is granted to allow the transfer of the Funds to R&E’s

23   operating account.
24

25

26

27
     44   See Dkt. 161, p. 2.
28




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                Notwithstanding the scope of the relief afforded by the
 1

 2   Stipulation, R&E maintains that its Motion is focused on the

 3   transfer of Funds, so that it may comply with the requirements of
 4   CRPC Rule 1.15.      45     It insists that it filed the Motion solely
 5
     “[i]n the interest of full transparency and in an abundance of
 6
     caution,” to confirm with this court that such a transfer would
 7
     not be in violation of the automatic stay.46
 8

 9              Uber and Google ask that the Motion and R&E’s request to

10   transfer the Funds be denied.              Uber and Google represent that
11
     they do not oppose R&E being paid fully and fairly for its
12
     services but ask the court to recognize that the Funds are
13
     property of the estate and subject to a section 329
14

15   reasonableness review.

16              R&E has replied that its request is “exceedingly narrow,”
17   and that it seeks only to comply with CRPC Rule 1.15(c) by timely
18
     removing earned fees (the Funds) from its client trust account.
19
     In fact, R&E specifically states:
20
                And it [the approval of the Motion] in no way
21
                precludes Uber or Google from later filing a proper
22              motion under section 329 or 502(b)(4) to seek this
                court’s review of the “reasonableness” of the flat fee
23              retainer funds the Debtor paid to R&E pre-petition (or
                the larger unsecured amount he is still obligated to
24
                pay under the terms of the Engagement Agreement).
25              They simply need to do so through a noticed motion
                properly filed under Bankruptcy Rule 2017 . . .
26

27   45   See Dkt. 161, p. 12.
28   46   Id.



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 1
             All R&E seeks here is a ‘comfort order’ confirming
 2           that R&E may transfer the prepetition advance retainer
             funds . . . without running afoul of the automatic
 3           stay.47
 4

 5
             Despite this apparent recognition by R&E that this court may

 6   undertake a review of the reasonableness of R&E’s proposed

 7   compensation in its Motion, the Stipulation itself appears to
 8
     attempt to foreclose such a review, as it provides that the Funds
 9
     are fixed, undisputed, and have been fully earned, are not
10
     property of the estate, and thus, not subject to review by this
11

12   court pursuant to section 329 and Bankruptcy Rule 2017.

13           2. Classification of the Retainer and CRPC Rule 1.15.
14
             In its Motion, and according to the Engagement Agreement,
15
     R&E asserts that its compensation is based on a “flat
16
     fee/advanced payment retainer,” and that, therefore, the Funds
17

18
     are not property of the bankruptcy estate.                It relies on CRPC

19   Rule 1.15(e), which provides that:

20           A lawyer may make an agreement for, charge, or collect
             a flat fee for specified legal services. A flat fee is
21
             a fixed amount that constitutes complete payment for
22           the performance of described services regardless of
             the amount of work ultimately involved, and which may
23           be paid in whole or in part in advance of the lawyer
             providing those services.48
24

25

26
     47   Dkt. 195, p. 1.
27
     48   CRPC Rule 1.15(e).
28




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             CRPC Rule 1.15 sets forth an attorney’s duties regarding
 1

 2   safekeeping of funds and property of clients and other persons.

 3   Pursuant to CRPC Rule 1.15(a), all advance payments for fees,
 4   costs, and expenses must be deposited into a trust account.
 5
     Pursuant to CRPC Rule 1.15(b), a flat fee advance can be placed
 6
     in a lawyer’s operating account if the lawyer discloses to the
 7
     client in writing that:            (1) the client has the right to have
 8

 9   the flat fee advance placed in a trust account until the fee is

10   earned; and (2) the client is entitled to a refund of any
11
     amount of the fee that is unearned because the services were
12
     not completed.49
13
             R&E points to CRPC Rule 1.15 as setting forth a
14

15   requirement to timely transfer the “fully earned” Funds.                       R&E

16   admits that it placed the Funds into the client trust account
17   and that Mr. Levandowski would be entitled to a refund of any
18
     fees that were not earned.             It maintains, however, that it has
19
     fully earned the Funds, as verified by the Motion, the
20
     Stipulation, and Mr. Levandowski’s supporting declarations.50
21

22           Initially, even if the limited purpose of the Stipulation

23   and Motion was to comply with a requirement that earned funds
24

25

26
     49   CRPC Rule 1.15(b)(1) (emphasis added).
27
     50   See, e.g., Dkt. 265.
28




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     be removed from a client trust account, CRPC Rule 1.15(c)(2)
 1

 2   provides that:

 3           [I]f a client or other person disputes the lawyer or
             law firm’s right to receive a portion of trust funds,
 4           the disputed portion shall not be withdrawn until the
 5
             dispute is finally resolved.51

 6           Uber and Google challenge R&E’s characterization of the Flat

 7   Fee based upon its actual treatment by Mr. Levandowski and R&E,
 8
     which they argue indicates that it was more in the nature of a
 9
     security retainer.           Uber and Google first note that R&E is
10
     seeking an order affecting more than just the Funds in trust by
11

12   asking for a judicial determination that the entire Flat Fee was

13   fully earned.       They point out that Mr. Levandowski never
14
     completed the payments contemplated by the Engagement Agreement,
15
     and that thus, his performance does not satisfy the requirement
16
     of a deposit of a Flat Fee that was fully earned.
17

18
             Next, Uber and Google point out that R&E did not treat the

19   payments it received as prepayments of the Flat Fee.                   R&E did not

20   previously place any portion of those payments into its operating
21
     account as an indication that they had been earned.                    Instead, R&E
22
     placed the Funds into a client trust account until they were
23
     determined to be “fully earned,” with the expectation that any
24

25   unearned fees would be returned.            The failure to treat the

26

27
     51   CRPC Rule 1.15(c)(2).
28




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     payments as earned prior to the Petition Date indicates that the
 1

 2   Funds are more like a security retainer, which is frequently held

 3   to be property of the estate.52
 4           R&E cites to several cases in arguing that retainers
 5
     characterized as flat fee or advance payment retainers were
 6
     earned upon receipt and, therefore, not property of the
 7
     bankruptcy estate.        That authority, however, involved an
 8

 9   examination of the true nature and application of the retainer,

10   and in many instances determined the retainer was more in the
11
     nature of a security retainer to be held until the fees were
12
     earned.53
13
             Precedent makes clear that the court must look to the nature
14

15   of the Flat Fee to determine Mr. Levandowski’s interest, and thus

16   the estate’s interest, in the Funds as of the Petition Date.                        And
17   the court concludes that, despite the language of the Engagement
18
     Agreement, it is apparent that the actual treatment of the
19
     payments, which assumed that any unearned fees would be refunded
20

21

22

23   52   See In re Blackburn, 448 B.R. 28, 35 (Bankr. D. Idaho 2011).
24   53Id. at 35 (“To determine the extent of Debtor’s interest in the retainer at
25   the time of filing, and thus the estate’s interest, the Court must first
     determine the nature of the retainer at issue.”); see also White v. Coyne,
     Schultz, Becker & Bauer (In re Pawlak), 483 B.R. 169, 176 (Bankr. W.D. Wis.
26
     2012) (holding that whether a flat fee retainer paid to law firm in days
     immediately preceding their bankruptcy filing was included in “property of the
27
     estate” depended upon whether debtors had any retained interest in retainer
     when their petition was filed).
28




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     to Mr. Levandowski, means the Funds remain property of the
 1

 2   bankruptcy estate.

 3           Uber and Google also point out two additional timing
 4   concerns, both of which support this conclusion.                  First, the
 5
     position of R&E that the Funds have been “fully earned” and are
 6
     now R&E’s property could not be true if its engagement
 7
     continues.       This appears to be the case, given R&E’s
 8

 9   representation that it will continue to represent Mr.

10   Levandowski through his February 22, 2021 hearing concerning
11
     his surrender for imprisonment.
12
             On the other hand, they observe that the original term of
13
     active representation upon which the Flat Fee was based was
14

15   expected to be eighteen months, but in fact, the actual active

16   representation covered only four months (if measured by the
17   guilty plea), or seven months (if measured by the sentencing
18
     date).      Those facts alone give rise to a need for a review of
19
     the Flat Fee.
20
             But in addition, Mr. Levandowski sought to employ R&E in
21

22   this bankruptcy case and toward that end, attested that the

23   firm’s employment related to this case.54               Had it been employed
24
     by this estate, the court would have been required to review
25
     R&E’s fees.          Mr. Levandowski also attested that R&E’s services
26

27
     54   See Dkt. 265.
28




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     would benefit the estate because R&E would attempt to obtain
 1

 2   approval of a reduced restitution payment, which would increase

 3   his distribution to creditors, and would try to reduce Mr.
 4   Levandowski’s prison sentence, which would permit him to work and
 5
     contribute his post-petition earnings (which are property of the
 6
     estate) to his creditors.55
 7
             Still further, both Mr. Levandowski and R&E (in its
 8

 9   Bankruptcy Rule 2014(a) declaration) stated an intention to

10   submit a proof of claim for the more than $3,300,000 that Mr.
11
     Levandowski has not yet paid, a claim also subject to the court’s
12
     consideration, assuming it draws an objection.56
13
             Considering the dispute raised by Uber and Google regarding
14

15   the determination of what fees have been earned and whether the

16   fees are reasonable, along with R&E’s expectation that, despite
17   its failure to timely file a proof of claim, Mr. Levandowski
18
     intends to amend his schedules and statements to provide for the
19
     full balance of the retainer as an undisputed debt, it appears
20
     appropriate for this court to determine whether there are
21

22   unearned fees due to Mr. Levandowski’s estate and whether the

23   compensation is reasonable.
24

25

26

27   55   Id., ¶ 14.
28   56   Id., ¶ 18; Dkt. 37, ¶ 17.



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             3. Reasonableness Review under section 329.
 1

 2           Regardless of the determination of the nature of the Flat

 3   Fee or whether the Funds are property of the bankruptcy estate,
 4   the court finds that it has the authority and the obligation to
 5
     review the reasonableness of R&E’s fees and of the Engagement
 6
     Agreement pursuant to section 329, by requiring R&E to file an
 7
     application under Bankruptcy Rule 2017.
 8

 9           Section 329(b) provides that an attorney for a debtor

10   seeking payment of fees under an agreement made within a year
11
     before the petition date must establish that the proposed fees do
12
     not exceed the “reasonable value of any such services.”57
13
             The record before the court establishes that the bankruptcy
14

15   and R&E’s representation of Mr. Levandowski arise from the same

16   set of facts; namely, Mr. Levandowski’s actions with respect to
17   Google and Uber.         Mr. Levandowski’s theft of trade secrets,
18
     during his employment at Google and his subsequent employment by
19
     Uber, led not only to the $170.0 million arbitration award that
20
     precipitated this bankruptcy, but also to the criminal referral
21

22   by the judge presiding over the Waymo Litigation, to Mr.

23   Levandowski’s indictment, and ultimately, to his new fee
24
     agreement with R&E.        These events are connected at their very
25
     core.
26

27
     57   See In re Perrine, 369 B.R. 571, 580-81 (Bankr. C.D. Cal. 2007).
28




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             That interrelationship and connection are further
 1

 2   demonstrated by Mr. Levandowski’s declaration submitted in

 3   support of his Application to hire R&E as special counsel in this
 4   bankruptcy case under section 327(e).58               The fact that he
 5
     ultimately withdrew the Application does not negate the
 6
     underlying intent or truthfulness of the sworn declarations.
 7
             The timing of R&E’s new Engagement Agreement, which is the
 8

 9   subject of R&E’s Motion and required either a full advance

10   payment or security deposits in the amount of a $4.0 million on
11
     the eve of the bankruptcy filing, also clearly indicates that the
12
     services and payments contemplated by the revised agreement were
13
     “in contemplation of or in connection with” the bankruptcy.
14

15           R&E began representing Mr. Levandowski in May 2017 and

16   billed its fees on an hourly basis for several years.                     Following
17   the Arbitration award and criminal indictment, it became clear
18
     that a bankruptcy filing was imminent.                At that point, and
19
     apparently concerned that Mr. Levandowski might become unable to
20
     pay his bills, R&E required a switch from the prior hourly
21

22   billable relationship to the Flat Fee or third party guaranteed

23   hourly payment arrangement in order to continue its
24
     representation.
25

26

27

28   58   Dkt. 36.



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          When faced with the possibility of losing the criminal
 1

 2   counsel upon which he had relied for nearly three years, it is

 3   easy to see that Mr. Levandowski had little choice but to concede
 4   to R&E’s demand.       The fact that Mr. Levandowski “chose” the Flat
 5
     Fee option is of no consequence; he was likely forced to that
 6
     conclusion by his inability to find a willing third-party source
 7
     for a $4.0 million deposit.         In any event, the record shows that
 8

 9   he failed to comply with the installment payment requirements of

10   the Flat Fee option, including the deposit of $250,000 for costs
11
     and expenses.    R&E did not draw on any amounts as earned and
12
     placed all payments into the client trust account, strongly
13
     signaling that these funds are property of the bankruptcy estate.
14

15        The events that occurred here are exactly the type that

16   section 329 was intended to address – where a debtor who has
17   little leverage must concede to an attorney’s demand for payment
18
     in light of a pending bankruptcy.          Section 329 provides the court
19
     with a one-year reach-back to examine the reasonableness of such
20
     fee agreements and payments in order to preserve assets which
21

22   might be available to the estate.

23        The most analogous caselaw presented by the parties
24
     indicates that bankruptcy courts do not limit the application of
25
     section 329 solely to the attorney representation during the
26
     filing or administration of the bankruptcy case.               Courts have
27

28   held that the nature of the service does not matter to the



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     application of the statute and have found that a connection
 1

 2   between criminal representation and the bankruptcy case justifies

 3   the application of section 329.
 4           Google and Uber cite to In re Rheuban as illustrative of
 5
     this point.59      Rheuban involved compensation to criminal counsel
 6
     for representation in connection with possible criminal and
 7
     regulatory violations arising out of the debtor’s business
 8

 9   relationship with a troubled savings and loan.                The debtor

10   controlled the troubled savings and loan, which had been placed
11
     into receivership by a resolution trust corporation and was under
12
     investigation by the FBI.
13
             The investigation focused on the debtor’s business
14

15   relationship with the savings and loan.              The debtor retained

16   criminal counsel to assist with the investigations.                    At first,
17   debtor’s criminal counsel billed on an hourly basis, but the
18
     arrangement switched to a “flat non-refundable fee” of $1.5
19
     million plus any “independent” costs and expenses for court fees,
20
     investigator fees, expert fees, and for the hiring of “any
21

22   persons possessing special skills or expertise [who were] not

23   employees of the firm”.60         The parties agreed that “under no
24

25

26
     59   In re Rheuban, 121 B.R. 368 (Bankr. C.D. Cal. 1990).
27
     60   Id. at 374.
28




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     circumstances would [the client] be entitled to the return of any
 1

 2   portion of the [Fee]”.61

 3              On the day before the bankruptcy filing, the debtor paid
 4   over $763,754 in cash, and facilitated the transfer of real
 5
     property he once owned, to criminal counsel, describing these
 6
     transfers as “an earned upon receipt” retainer to compensate the
 7
     law firm.       Criminal counsel represented the debtor in
 8

 9   “interfacing” with the U.S. Attorney’s office and savings and

10   loan regulators and continued to assist the debtor post-petition,
11
     even advising the debtor on his 5th amendment rights associated
12
     with his meeting of creditors, but never sought employment under
13
     section 327 or disclosed their compensation under section 329.
14

15              In finding that the fees paid under the earned upon receipt

16   retainer were subject to review pursuant to section 329, the
17   Rheuban court found that the services rendered by criminal
18
     counsel in that case were “in connection” with the bankruptcy
19
     case because the agreement to provide legal services arose out of
20
     the debtor’s business relationship with the savings and loan,
21

22   which was the focus of the regulatory and criminal proceedings.62

23   The debtor’s serious financial problems were in part due to the
24
     same investigations, which undoubtedly would have an impact on
25

26

27   61   Id.
     62   Id.
28




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     the bankruptcy case.          The Rheuban court also found it significant
 1

 2   that, at the time the debtor entered into the retainer agreement

 3   and paid the fee, he was contemplating bankruptcy.63
 4              Google cites to Rheuban for its argument that courts
 5
     applying section 329 to criminal defense attorney fees have found
 6
     that “[i]t is especially important for the attorney to make a
 7
     strong showing of reasonableness of the compensation when the
 8

 9   services are for criminal defense because it is unlikely that the

10   creditors of the Debtor are liable to receive any benefit from
11
     such services.”64
12
                Rheuban also cited to Conrad,65 the hallmark case setting
13
     forth the policy considerations behind section 329 (and its
14

15   predecessor statute, section 60d of the Bankruptcy Act).                     Conrad

16   ordered the turnover of $2000 that had been paid by the debtor to
17   counsel prepetition, for services related to negotiating with
18
     creditors for an extension or creditor supervision of operations
19
     shortly before the filing of an involuntary petition.
20
                The Court noted that the services were procured at a time
21

22   when the debtor was contemplating bankruptcy, and described the

23   policy concerns as follows:
24

25
     63   Id.
26
     64   Id. at 385.
27
     65   Conrad, Rubin & Lesser v. Pender, 289 U.S. 472 (1933).
28




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                The manifest purpose of the provision is to safeguard
 1
                the assets of those who are acting in contemplation of
 2              bankruptcy. . . and to provide a restraint upon
                opportunities to make an unreasonable disposition of
 3              property through arrangement for excessive payments
                for prospective legal services.66
 4

 5
                The Court held that the statute is not restricted by ”the

 6   specific nature of the legal services to be rendered,” but

 7   whether “the payment or transfer to provide for them is made ‘in
 8
     contemplation’ of bankruptcy.”67            The Court set forth the test
 9
     for “in contemplation:”
10
                [T]he controlling question is with respect to the
11
                state of mind of the debtor and whether the thought of
12              bankruptcy was the impelling cause of the transaction.
                If the payment or transfer was thus motivated, it may
13              be re-examined, and its reasonableness determined.68
14
                ”Impel” means “to urge to action through moral pressure; to
15
     drive forward”.69         In the instant case, it appears clear from the
16
     Mr. Levandowski’s Declaration that the prospect of bankruptcy was
17

18
     the cause of the switch from an hourly billable arrangement to a

19   flat fee/advanced payment retainer, as well as the demand that

20   fees be paid pre-petition for all future work.
21
                In another more recent case with similar facts, the court
22
     examined the application of section 329 to a flat fee prepetition
23

24
     66   Id. at 476-77.
25
     67   Id.
26
     68   Id. at 477.
27
     69   See American Heritage Dictionary 709 (3d ed. 1992)
28




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     retainer paid to criminal counsel.            70    The debtor was the chief
 1

 2   executive officer of a financial corporation that owned a savings

 3   and loan.71        On the date the debtor was first identified as “the
 4   central figure” in the financial problems of the savings and
 5
     loan, he hired criminal counsel to assist with ”all criminal
 6
     matters which might arise out of his connection” with the
 7
     financial corporation and savings and loan investigations for a
 8

 9   flat fee of $450,000.72          A month later, the engagement agreement

10   was modified to provide a cash payment of $200,000 and conveyance
11
     of certain art objects valued at $100,000 as “payment in full”
12
     and not to secure payment or for antecedent debt. At the time of
13
     the agreement and payment, no criminal charges were pending, and
14

15   the services were considered primarily prospective.

16           The court found that, when criminal counsel received the
17   money and art from the debtor, it knew of the proposed bankruptcy
18
     and all were concerned that debtor’s assets would shortly be
19
     seized by the government.           Within four months of the agreement,
20
     the debtor filed a voluntary Chapter 11 petition, but was not
21

22   indicted for nearly three years.             Rather than consider the

23   adversary proceeding seeking to recover the fee as a fraudulent
24

25   70Wooton v. Ravkind (In re Dixon), 143 B.R. 671 (Bankr. N.D. Tex. 1992),
     aff'd, 85 F.3d 626 (5th Cir. 1996).
26
     71   See id.
27
     72   Id. at 674.
28




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     transfer, the court reviewed the reasonableness of the fees sua
 1

 2   sponte, under section 329 and Bankruptcy Rule 2017.                       The court

 3   relied upon the holdings in Conrad and In re Wood73 in ruling
 4   that:
 5
             Notwithstanding the fact that [criminal counsel] did
 6           not represent [debtor] in his Chapter 11 proceeding,
             [counsel’s] fee arrangement is subject to scrutiny
 7           under section 329(b) of the Code. Moreover, the fact
             [debtor and counsel] treated the retainer as a flat
 8
             fee does not limit the court’s authority to review the
 9           reasonableness of the arrangement.74

10
     “The statutory provisions are unambiguous. Attorney’s fees are
11

12   subject to review by the court notwithstanding the terms of any

13   fee arrangement.”75
14
             Like the facts here, Dixon found the actions of the debtor
15
     to be the simultaneous cause of both his financial problems and
16
     resulting bankruptcy case and of his need for criminal
17

18
     representation.        The timeline of events provided a clear

19   connection between the retention of criminal counsel and the

20   commencement of the bankruptcy case.
21
             Google also cites to In re Perrine to support its argument
22
     that a showing of reasonableness is also required under section
23

24

25
     73   210 U.S. 246 (1908).
26
     74   Dixon, 143 B.R. at 677.
27
     75   Id. at 675.
28




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     329, when a debtor’s attorney receives a pre-petition retainer
 1

 2   and applies it to antecedent debt and to non-bankruptcy work.76

 3           In Perrine, the court determined that a debtor’s transfer of
 4   property valued at $30,000 ninety-six days before the filing of
 5
     the bankruptcy petition was “made in contemplation of or in
 6
     connection with” the debtor’s bankruptcy case, and held that
 7
     “Congress intended to permit bankruptcy courts to reexamine the
 8

 9   reasonableness of fees within the one-year look back period,

10   irrespective of the nature of the services rendered.”77                   The
11
     court recognized that the subjective inquiry is whether the
12
     services and payments agreed to by the debtor were influenced by
13
     the possibility or imminence of bankruptcy.78               Debtor’s counsel
14

15   attributed all but $3,000 to pre-petition work, including

16   litigation with debtor’s primary creditor and also failed to file
17   the proper disclosure with the court.              The court applied section
18
     329 and disapproved the fees.
19
             Finally, even if a prepetition retainer is actually in the
20
     nature of a flat or earned fee that might not be considered
21

22

23

24

25
     76   369 B.R. 571 (Bankr. C.D. Cal. 2007).
26
     77   Id. at 580 (internal citations omitted).
27
     78   Id. (emphasis added) (internal citations omitted).
28




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     property of the estate, it still falls within the purview of
 1

 2   section 329.79

 3           In Lamie, the Supreme Court primarily determined that an
 4   attorney for a chapter 7 debtor could not be paid from property
 5
     of the estate under section 330(a)(a) unless employment had been
 6
     approved under section 327.80            The Court recognized an
 7
     exception, though, noting that section 330(a)(1) does not prevent
 8

 9   a debtor from engaging counsel before a Chapter 7 case and paying

10   a flat fee for compensation earned prepetition to ensure the
11
     filing is correct.        The Court expressly found that, even in cases
12
     involving an allowed flat fee, a debtors’ attorneys must disclose
13
     fees they receive from a debtor in the year prior to its
14

15   bankruptcy filing and that courts may order excessive payments

16   returned to the estate.81
17

18
     79See, e.g., Pawlak, 483 B.R. at 181 (“an attorney who ended up doing nothing
19
     in exchange for a sizable flat fee might technically be the owner of the money
20   at the time of filing, but the amount of compensation would inevitably face
     heavy scrutiny under section 329(b)”).
21   80   Lamie v. United States Tr., 540 U.S. 526 (2004).
22   81Id. at 537-538. See also, Danner v. United States Tr. (In re Danner), 2012
23   WL 3205242(9th Cir. BAP 2012) (holding that an advance payment retainer if not
     treated as earned on receipt is not considered the attorney’s property until
24   it is actually earned, citing Idaho Professional Conduct Rule 1.15(c)); In re
     McDonald Bros. Constr. Inc., 114 B.R.989 (Bankr. N.D. Ill., 1990) (holding
25   that an advance payment retainer is not property of the estate but is still
     subject to court review for excessiveness under section 329); In re Alvarado,
     496 B.R.200 (N.D. Cal. 2013) (holding that bankruptcy court had the authority
26
     to order disgorgement of fees paid to Chapter 7 debtors’ attorney as exceeding
     reasonable value of attorney’s services, notwithstanding the prepetition fee
27
     payments were in the nature of advance payment retainers not included in
     bankruptcy estate.).
28




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                Following the reasoning in Lamie, the Pawlak court more
 1

 2   recently recognized that:

 3              It is important to note that regardless of the nature
                of the fee under state law, the manner in which an
 4              attorney collects the fee for services in bankruptcy
 5
                is simultaneously regulated by the code.82

 6   Based upon its reading of Lamie, the court held that courts

 7   have “a need and a right” to full, unfettered disclosure of
 8
     all fee and financial arrangements between debtors and
 9
     their attorneys.83         The underlying purpose of the disclosure
10
     requirements is to police “potential for overreaching” by
11

12   debtors' counsel, and full disclosure provides an

13   opportunity for all interested parties to review and object
14
     to any unreasonable fees.84            The court is the watchdogs of
15
     that process.
16
                These cases and others make clear that the Bankruptcy Code
17

18
     contemplates fee agreements like the one at issue in this case,

19   and that section 329 authorizes bankruptcy courts to analyze the

20   reasonableness of fees paid pursuant to such agreements and to
21
     order excessive payments returned to the estate.
22
                D. CONCLUSION
23

24

25

26   82   Pawlak, 483 B.R. at 178.
27   83   Id.
28   84   Id.



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          For the foregoing reasons, the court sustains the objections
 1

 2   filed by Google and Uber.        R&E’s Motion to approve the

 3   Stipulation is DENIED WITHOUT PREJUDICE to R&E filing an
 4   application seeking approval of its fees.             Any such application
 5
     shall comply with applicable law, as well as with the court’s and
 6
     the United States Trustee’s guidelines.
 7

 8

 9                                 **END OF ORDER**

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                             Court Service List

[None]




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